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     Russell Davis (SBN 177959)
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 5   Attorney for Plaintiffs

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                           IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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      SELINA KEENE, MELODY FOUNTILA, MARK ) Case No.: 4:22-cv-01587-JSW
11    MCCLURE,                                          )
                                                        ) NOTICE OF MOTION AND MOTION
12          Plaintiffs,                                 ) TO ENTER AN ORDER PURSUANT
                                                        ) TO THE NINTH CIRCUIT’S
13   v.                                                 ) MEMORANDUM;
14                                                      ) DECLARATION OF RUSSELL DAVIS
     CITY AND COUNTY OF SAN FRANCISCO;                  )
15   LONDON BREED, Mayor of San Francisco in her )
     official capacity; CAROL ISEN Human Resources )
16   Director, City and County of San Francisco, in her )
     official capacity; DOES 1-100,                     ) Date: July 28, 2023
17                                                        Time: 9:00 AM
                                                        ) Judge: The Honorable Jeffrey S. White
18         Defendants.                                  )
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27   _________________________________________________________________________________________________________
             NOTICE OF MOTION AND MOTION TO ENTER AN ORDER PURSUANT TO THE NINTH CIRCUIT’S
                                 MEMORANDUM; DECLARATION OF RUSSELL DAVIS
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 1                                  NOTICE OF MOTION AND MOTION
 2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD: PLEASE TAKE NOTICE
 3   that on July 28, 2023, at 9:00 a.m., in Courtroom 5 of the Oakland Courthouse at 1301 Clay Street,
 4   Oakland, CA 94612, the Plaintiffs will move this Court to enter an order pursuant to the Ninth
 5   Circuit’s Memorandum ruling in this matter. The grounds of this Motion are that Plaintiffs will
 6   suffer undue harm if such order is not entered forthwith.
 7          Dated: June 23, 2023
                                                              /s/ Russell Davis
 8                                                            Russell Davis
 9                                                            PACIFIC JUSTICE INSTITUTE

10                                                            Attorney for Plaintiffs
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             NOTICE OF MOTION AND MOTION TO ENTER AN ORDER PURSUANT TO THE NINTH CIRCUIT’S
                                 MEMORANDUM; DECLARATION OF RUSSELL DAVIS
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 1              DECLARATION OF RUSSELL DAVIS IN SUPPORT OF THE MOTION
 2          I, Russell Davis, declare as follows:
 3          1. I am the attorney of record for the Plaintiffs herein. I have personal knowledge of the
 4   facts in this matter and if called to testify regarding them I would and could do so competently.
 5          2. On May 15, 2023 (Docket no. 64), the Ninth Circuit Court of Appeals entered a
 6   Memorandum stating grounds for its remand of Plaintiffs Motion for Preliminary Injunction. On
 7   June 5, 2023, (Docket no. 71) that same court entered its Mandate, which constitutes the formal
 8   mandate of this Court issued pursuant to Rule 41(a) of the Federal Rules of Appellate Procedure.
 9          3. This case is subject to this court’s further order re: the Ninth Circuit’s Memorandum.
10   My clients will be prejudiced by further delay in entering said order. Wherefore Plaintiffs request
11   the Court to enter an order consistent with the Ninth Circuit’s remand.
12          Authority
13          The Code of Conduct for United States Judges, Canon 3(A)2 states, “A judge should hear
14   and decide matters assigned, unless disqualified, and should maintain order and decorum in all
15   judicial proceedings.”
16          Wherefore, Plaintiffs request the Court to enter an order consistent with the Ninth Circuit’s
17   Memorandum on remand.
18          I declare under penalty of perjury under the laws of the State of California that the
19   foregoing is true and correct. Executed this 23rd day of June in San Francisco, California.
20                                                            /s/ Russell Davis
21                                                            Russell Davis
                                                              PACIFIC JUSTICE INSTITUTE
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                                                              Attorney for Plaintiffs
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27   _________________________________________________________________________________________________________
             NOTICE OF MOTION AND MOTION TO ENTER AN ORDER PURSUANT TO THE NINTH CIRCUIT’S
                                 MEMORANDUM; DECLARATION OF RUSSELL DAVIS
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